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                             THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO



United States of America,
         Plaintiff,
             v.                                     Criminal Case. NO. 11-045 (PG)
Ángel Ayala Vázquez [4]
         Defendant.



                                        OPINION AND ORDER

         Before the Court is Defendant’s motion to dismiss (Docket No. 66).

Therein,    Defendant        requests     that     this    Court    dismiss   the    indictment

pursuant to the Double Jeopardy Clause of the Fifth Amendment. For the

reasons stated below, this Court DENIES Defendant’s request.

                           I.     FACTUAL AND PROCEDURAL BACKGROUND

     In     Count    Two     of   the    Indictment       of    criminal   case   09-173    (PG),

defendant         Angel      Ayala-Vazquez         (hereinafter        “Ayala-Vazquez”         or

“Defendant”) was charged with conspiracy to import narcotics into Puerto

Rico from February 2007 until February 2008. In said case Defendant’s co-

conspirators were Jose Hernandez-Torres (“Lanza”) and Jose Negron-Rivera

(“Nino    Brown”).        Evidence     presented    at    trial    demonstrated      how    Ayala-

Vazquez along with said co-conspirators reached an agreement with an

undercover DEA agent to import a drug shipment totaling 100 kilograms

into Puerto Rico from the Dominican Republic. Defendant was ultimately

convicted of said offense.

     Defendant        was       then    charged    in     the    above-captioned     case    with

conspiring to import five kilograms or more of cocaine and one kilogram

or more of heroin into Puerto Rico from the Dominican Republic from on or

about March 2005 until on or about July 2009. See Docket No. 1. The co-
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conspirators    in    this    case     include    Elvin    Torres    Estrada    (“Muñecon”),

Rafael Santiago Martinez (“Pica”) and Samuel Negron Hernandez (“Sammy

Toston”). The co-conspirators charged in the case at hand were also

charged in 09-173 (PG), however, they were not charged in Count Two as

part of the conspiracy to import cocaine into Puerto Rico.1

        Defendant has now filed a motion to dismiss the indictment alleging

that the Double Jeopardy Clause of the Fifth Amendment prohibits the

Government from prosecuting him twice for the same                         offense, namely,

conspiring    to     import    cocaine    into    Puerto    Rico     See    Docket    No.   66.

Defendant claims that both Count Two in case 09-173 (PG) and Count One in

11-045 (PG) charge him with the same offense with the same elements, and

thus, the Double Jeopardy Clause bars the Government from prosecuting him

again on those grounds. The Defendant also alludes to the double jeopardy

standard set forth in Blockburger v. United States, 284 U.S. 299 (1932).

        Finally, the Defendant asserts that in 09-173 (PG), the jury was

never    instructed     to    only     consider    the    evidence     stemming      from   the

testimony of cooperator Jose Marrero Martel, and agents Jose Ralat, Juan

Clemente    Andino    and     Felipe    Rivera    Rivera,    which     gave    rise    to   the

conspiracy charge in Count             Two of the Indictment.              Consequently, the

Defendant alleges that to the extent the jury took into account this

testimony to convict the Defendant of Count Two in 09-173 (PG), then

proceeding with the prosecution in this case would be a violation of

Defendant’s Fifth Amendment right. See Docket No. 66.2

        The Government then filed a response in opposition to Defendant’s

motion to dismiss (Docket No. 80). Therein, the Government argues that

1
  Defendants charged in Count Two of 09-173 (PG) were Angel Ayala Vazquez, Jose Negron
Rivera and Jose Hernandez Torres.
2
  The Court finds Defendant’s base assertion and argument incomprehensible and will thus
refrain from discussing its merits herein.
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“although    both   Indictments        charge        conspiracies       involving        efforts    to

import narcotics … during an overlapping period of time, they are not the

same conspiracy.” Docket No. 80 at p. #3. To support these allegations,

the Government claims that the identities of the co-conspirators, their

ends and means used to achieve those ends, as well as the evidence

presented to prove the two conspiracies differ.

                                       II. DISCUSSION
        The Double Jeopardy Clause of the Fifth Amendment protects against

a   second   prosecution     for    the       same     offense     after       acquittal,        after

conviction and also protects against multiple punishments for the same

offense. U.S.C.A. CONST. AMEND. V. Furthermore, the Double Jeopardy Clause

prohibits the subdivision of a single criminal conspiracy into multiple

violations of one conspiracy statute. See Baverman v. United States 317

U.S. 49 (1942).      The test set forth in Blockburger has been habitually

used by courts to determine whether indictments charge the same offense.

The Blockburger or “same elements” test “inquires whether each offense

contains an element not contained in the other; if not, they are the

‘same    offense’   and    double       jeopardy       bars     additional        punishment       and

successive prosecution.” U.S. v. Dixon, 509 U.S. 688, 697 (1993).

        Defendant argues that pursuant to this test, the Government is

barred    from   prosecuting     him     on    the     grounds     of      conspiracy.     However,

Defendant fails to “recognize that the Blockburger test applies only

where the same act or transaction constitutes a violation of two distinct

statutory    provisions….”       U.S.    v.    Asher,      96    F.3d      270,   273     (7th    Cir.

1996)(quoting     Blockburger,      284       U.S.    at   304).      In    addition,      a   strict

Blockburger double jeopardy analysis has been rejected by federal courts

when dealing with subsequent prosecutions and more than one conspiracy is
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at issue. See U.S. v. Thomas, 759 F.2d 659 (8th Cir. 1985)(emphasis

ours).     Also,    it     has   been     held     that     the    Blockburger        test   is     of

questionable value in conspiracy double jeopardy issues. Id. at 662.

Accordingly, this Court finds that the Blockburger test is inapplicable

to the case at hand.

         Notwithstanding, the First Circuit Court carved a five-factor test

for determining whether two conspiracy counts charge the same offense and

therefore places the defendant in double jeopardy. Such factors include:

                1) time periods of the conspiracies, with an
                overlap tending to support a single conspiracy; 2)
                the personnel involved, again with “significant
                overlap”   denoting   a   single   conspiracy;   3)
                location(s), with identical place(s) supporting a
                single conspiracy; 4) evidence of overt acts, where
                the same acts would denote a single conspiracy; and
                5) statutory provisions, with the same statutes
                suggesting possible overlap.

U.S. v. Hart 933 F.2d 80, 85-86 (1St Cir. 1991); U.S. v. David, 940 F.2d

722,     734    (1st     Cir.    1991).    Other       Circuit     Courts      of   Appeals        have

established analogous tests. See U.S. v. Elgersma, 979 F.2d 750 (9th Cir.

1992); U.S. v. Thomas, 759 F.2d 659 (8th Cir. 1985). “These factors are

guidelines only. The essence of the determination is whether there is one

agreement to commit two crimes, or more than one agreement, each with a

separate object.” U.S. v. Thomas, 759 F.2d at 663. All factors should be

considered together because no single factor is determinative. See U.S.

v.   Delgado,      256    F.3d   264,     272   (5th     Cir.     2001).    When    analyzing      the

factors,       courts    shall    consider       all    evidence     before      them,   including

“evidence       adduced    at    the    previous        trial,     evidence     expected      to    be

presented at the second….” U.S. v. Thomas, 759 F.2d                         at 663.

       With regards to the first factor, namely, the time period, courts

have held: “[t]he fact that the two conspiracies overlap at times does
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not prove that there was only one conspiracy.” U.S. v. Thomas, 759 F.2d

at 667. The time frame of the conspiracy charged in Count Two in 09-173

(February 2007 to February 2008) is entirely contained within the time

frame of Count One in 11-045 (March 2005 to July 2009). In cases alike,

courts have found that “where the smaller conspiracy is charged first,

there    is   not   the   same    opportunity   for    prosecutorial   abuse,    and   the

overlap of time is therefore a less important consideration.” U.S. v.

Macchia, 35 F.3d 662, at 669 (2nd Cir. 1994). Accordingly, this Court

finds that even though there is an overlap in time frames between both

conspiracies, this does not bar a finding of separate conspiracies. Most

importantly, the conspiracy charged in Count One of 11-045 continued for

more than a year after the one charged in Count Two of 09-173 had ended3.

This last allegation in the indictment is demonstrative that there were

in fact two separate conspiracies in which the Defendant participated.

        In considering the second factor, the identities of the persons

involved, this Court find no “significant overlap” denoting a single

conspiracy. First and foremost, the members of the conspiracy charged in

09-173 included Jose Hernandez-Torres, Jose Negron-Rivera, and Ayala-

Vazquez. On the other hand, the co-conspirators charged in the above-

captioned case include Elvin Torres Estrada, Rafael Santiago Martinez,

Samuel Negron Hernandez and Ayala-Vazquez. Accordingly, except for the

Defendant,     the    parties      named   in   each    indictment     were    completely

different.

        The third prong of the test is location. Both conspiracies involve

the importation of cocaine into the customs territory of Puerto Rico.

However, this factor by itself is not indicative of the existence of a

3
  The conspiracy charged in Count 2 of 09-173 (PG) ended in February 2008, while the
conspiracy charged in Count 1 of 11-045 (PG) lasted until July 2009.
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single conspiracy. Accordingly, federal courts have found that it is

possible for more than one conspiracy to exist in the same metropolitan

area. See U.S. v. Mallah, 503 F.2d 971 (2nd Cir. 1974)(finding that the

New York metropolitan area was large enough to harbor two simultaneous

narcotics     conspiracies);          U.S.    v.    Dortch,        5     F.3d    1056       (7th     Cir.

1993)(finding that the greater St. Louis area is certainly large enough

to be home to more than one conspiracy to distribute cocaine).

     The fourth factor is the evidence of overt acts, where the same

acts would denote a single conspiracy. The acts giving rise to the 09-173

conspiracy     involved        an     agreement     between        the    Defendant,         his      co-

conspirators    and     an    undercover      DEA   agent     to       import    a   drug    shipment

totaling 100 kilograms into Puerto Rico from the Dominican Republic. With

regards to the 11-045 Indictment, the Government emphasizes that evidence

to be presented at trial includes both the importation of cocaine and

heroin     quantities        into    Puerto    Rico,     as    well       as     the    “subsequent

transportation of cocaine from Puerto Rico to the Continental United

States…,” See Docket No. 80 at page 5, whereas evidence presented in case

09-173 as part of the conspiracy charge was limited to the importation of

cocaine into Puerto Rico. Even though both conspiracies have a geographic

overlap,    evidence    to     be     presented     in   11-045        (PG)    includes      the     U.S.

Mainland.    When   analyzing         this    factor,    courts        have     determined           that

“[w]hile similar in nature to the extent that each conspiracy dealt with

cocaine deals, the evidence presented… revealed different transactions in

different places with different people.” U.S. v. Hart, 933 F.2d at 86.

After considering these facts, the Court understands that the acts that

gave rise to both conspiracy charges have little, if any correlation

other than they both involved cocaine importation.
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      With regards to the fifth and final factor, namely the statutory

provisions, both indictments charge conspiracy to import narcotics into

the customs territory of the United States pursuant to 21 U.S.C. § 963.

Although there is similarity at this general level, it is immaterial to

the case at hand. As courts have noted before, “it is possible to have

two different conspiracies to commit exactly the same type of crime.”

U.S. v. Okolie, 3 F.3d 287, 290 (8th Cir. 1993)(quoting U.S. v. Thomas,

759   F.2d    at     666).    Accordingly,       this    Court     finds     that      while    both

Indictments     charge       the    same   offense,      under     the     same     statute,     the

Defendant took part in different conspiracies in order to commit the same

crime. In addition, this Court finds that “the overlap of statutory

provisions     for    each    count    does    not      belie    the     separateness      of    the

conspiracies established by the first four factors.” U.S. v. Hart, 933

F.2d at 86.

      Upon careful review, this Court finds that the acts giving rise to

the   two    separate    conspiracy        charges    differ     from     one     another.     After

analyzing the multi-factor test carved by the First Circuit, this Court

finds that the two conspiracy counts against defendant Ayala-Vazquez are

in fact two separate schemes to import cocaine into the territory of

Puerto Rico. Accordingly, this Court DENIES Defendant’s motion to dismiss

(Docket No. 66).

                                       IV. CONCLUSION
      In     light     of    the     aforementioned,        this       Court      hereby       DENIES
Defendant’s motion to dismiss (Docket No. 66) on Double Jeopardy grounds.
      SO ORDERED.
      In San Juan, Puerto Rico, October 17th, 2012.
                                                     S/ JUAN M. PÉREZ-GIMÉNEZ
                                                     JUAN M. PÉREZ-GIMÉNEZ
                                                     UNITED STATES DISTRICT JUDGE
